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12
                  IN THE UNITED STATES DISTRICT COURT
13
         FOR THE DISTRICT OF MONTANA, GREAT FALLS DIVISION
14   __________________________________________________________________

15     JEFFREY STIFFARM, GENO
       LEVALDO, DEREK AZURE,                     Case No. 4:23-CV-00054-BMM
16     BRIAN WING, AND CURTIS
       HORN,                                      PLAINTIFFS’ PRELIMINARY
17
                                                   PRETRIAL STATEMENT
18             Plaintiffs,

19           v.

20     JENNIFER WEDDLE, AND
       GREENBERG TRAURIG LLP,
21                  Defendants.
22

23
                                             1
24

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 1        Plaintiffs respectfully submit this Preliminary Pretrial Statement
 2
     pursuant to this Court’s November 6, 2023 Order and Local Rule 16.2(b).
 3

 4        A.    Brief Factual Outline of the Case

 5        In addition to any facts stipulated to by all parties, Plaintiffs provide
 6
     the following:
 7

 8        Plaintiffs are currently or are former members of the Fort Belknap

 9
     Community Council (the “Tribal Council” or “Council”), the governing
10
     body of the Gros Ventre (Aaniiih) and Assiniboine (Nakoda) Tribes of the
11

12   Fort Belknap Indian Community of Montana (“FBIC” or “Tribe”). The
13
     Tribal Council is the owner of Fort Belknap Community Planning and
14

15   Development Corporation d/b/a Island Mountain Development Group

16   (IMDG). The Tribal Council established IMDG in 2006 to bring much
17
     needed revenue, economic development, and job opportunities to those on
18

19   the Reservation. IMDG is governed by a Board of Directors appointed by

20
     the Tribal Council.
21
          Defendants Jennifer Weddle and her law firm, Greenberg Traurig
22

23   LLP (Greenberg Traurig), served as legal counsel for IMDG and its
                                              2
24

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 1   affiliates for over thirteen years. Beginning in 2018, Defendant Weddle
 2
     represented IMDG in connection with the financing transactions between
 3

 4   IMDG and various third-party lenders (the “Lenders”).

 5        The Tribal Council became increasingly concerned that Defendant
 6
     Weddle was using IMDG for her own financial benefit after the IMDG
 7

 8   Board persisted in refusing to provide financial information about the

 9
     transactions with Lenders and IMDG’s business activities. The Tribal
10
     Council also began discovering significant unexplained debts, losses of
11

12   revenue, and evidence of other potentially serious improprieties at IMDG.
13
          The Tribal Council also became concerned about the legitimacy of the
14

15   membership of the IMDG Board of Directors under IMDG’s organization

16   documents and Tribal law, as many of the Board members terms were
17
     already expired or set to expire in March 2022.
18

19        FBIC President, Plaintiff Jeffrey Stiffarm, initiated communications

20
     with then-IMDG Chief Executive Officer (CEO) Terry Brockie and the
21
     IMDG Board of Directors early in 2022 requesting information related to
22

23   IMDG’s Board of Directors term limits, IMDG’s payroll, including the
                                             3
24

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 1   salaries of the members of IMDG’s Board of Directors, and information
 2
     related to the financing agreements between IMDG, its affiliates, and the
 3

 4   Lenders. At the direction of Defendant Weddle, Mr. Brockie refused to

 5   provide the requested information and stated all Board members’ terms
 6
     would expire in January 2024.
 7

 8        Based on the evidence of financial improprieties at IMDG, as well as

 9
     IMDG’s failure to ensure or confirm the legitimacy of the IMDG Board of
10
     Directors, the Tribal Council set a special meeting for January 19, 2023 and
11

12   voted to appoint six sitting Tribal Council members to the Interim Board.
13
          After receiving notice of the special meeting, Defendant Weddle
14

15   began contacting members of the prior IMDG Board and IMDG executive

16   staff inciting them to harass and threaten the Council members who had
17
     scheduled the special meeting. Specifically, Defendant Weddle told IMDG
18

19   employees that if the Council appointed new board members, IMDG’s

20
     third-party lenders would revolt by freezing bank accounts and assets, and
21
     leave the Fort Belknap Reservation, which would leave hundreds of tribal
22

23   members and IMDG employees without jobs.
                                              4
24

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 1        After the Tribal Council voted to appoint an Interim Board,
 2
     Defendant Weddle also informed IMDG administrative staff not to go to
 3

 4   work the next day but instead appear at the Tribal Council’s chambers and

 5   demand that the Tribal Council rescind its action. Defendant Weddle told
 6
     the IMDG employees they would lose their jobs and it was the fault of the
 7

 8   five Tribal Council members voting to appoint a new Board. Defendant

 9
     Weddle went so far as to text a group IMDG employees asking if the
10
     employees were going to “stake out” at the Tribal Council members’
11

12   homes.
13
          On January 20, 2023, and for several days thereafter, the Individual
14

15   Plaintiff Tribal Council members were attacked. On January 20, over 200

16   angry employees all on paid administrative leave from IMDG, together
17
     with members of their families, swarmed the tribal offices demanding that
18

19   the prior Board be reinstated. The Tribal Council had to call for law

20
     enforcement to control the crowd that gathered. The Councilmembers
21
     found threatening messages on their car windshields and one
22

23   Councilmember’s beloved horse was found shot a few days later.
                                             5
24

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 1         Also after the special meeting on January 19, 2023, in the middle of
 2
     the night, Defendant Weddle called the Lenders, to whom she had no duty,
 3

 4   to inform them of the Tribal Council’s action in appointing an interim

 5   Board and stated that in her opinion, the appointment violated Tribal law
 6
     and constituted an Event of Default under the Agreements. As a direct
 7

 8   result of Defendant Weddle’s action, which was not taken at her client

 9
     IMDG’s direction, the Lenders notified IMDG of an Event of Default under
10
     the lending agreements on January 20, 2023.
11

12         After receiving the Event of Default notice from the Lenders, the
13
     Tribal Council requested copies of the lending agreements from
14

15   Defendants Weddle and Greenberg Traurig. Defendants refused to

16   provide their client, IMDG, with copies of the agreements. Defendant
17
     Weddle continued to insist without explanation that the Agreements were
18

19   confidential and could not be shared or reviewed by anyone other than

20
     herself.
21
           On February 10, 2023, the Interim Board terminated its engagement
22

23   with Defendants Weddle and Greenberg Traurig based, in part, on their
                                              6
24

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 1   refusal to provide their client with copies of the Agreements. Defendant
 2
     Weddle again contacted the Lenders and informed them she was
 3

 4   withdrawing her legal opinions she provided in connection with the

 5   Agreements and that IMDG’s appointment of an Interim Board violated
 6
     Tribal law and IMDG’s organizational documents.
 7

 8        On March 28, 2023, the Interim Board discovered documents, letters,

 9
     emails, and text messages from Defendant Weddle in which she advised
10
     certain members of the prior IMDG Board to sign documents dated
11

12   January 22, 2023, effectively authorizing conversion of all IMDG tribal
13
     online lending businesses, including all IMDG’s assets, businesses, and
14

15   jobs, out of the state of Montana to the Rosebud Sioux Tribe in South

16   Dakota. Defendant Weddle attempted to effectuate this transfer through
17
     two prior Board Members, Tracy “Ching” King and Christopher “Smiley”
18

19   Guardipee, acting as an “ad hoc executive committee” of the prior Board.

20
     The ad hoc executive committee was established in 2018 but had rarely if
21
     ever been used. Defendant Weddle’s attempt to use the inactive
22

23   committee, whose members were no longer seated on the IMDG Board,
                                             7
24

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 1   was a blatant play to bypass the authority of the newly appointed Interim
 2
     Board and continue to conceal information from the Tribal Council.
 3

 4         Further, Defendants knew that their injury caused to IMDG, a wholly

 5   owned tribal entity, would also cause injury to the Plaintiffs. In addition to
 6
     their attempts to transfer IMDG’s assets so they could continue controlling
 7

 8   the company for their own financial benefit, Defendants’ goal of their

 9
     actions was to injure the Plaintiffs. Upon information and belief the
10
     Defendants recommended or guided employees of IMDG and their
11

12   relatives to take action to remove Plaintiffs from their elected offices in
13
     January 2023, and also concerning the election in the latter part of 2023.
14

15   This advice was given despite the fact that the Defendants were acting as

16   legal representatives for the Tribe and its affiliated organizations in January
17
     of 2023.
18

19         B.    Jurisdiction and Venue

20
           This Court has jurisdiction over Plaintiffs’ claims pursuant to 28
21
     U.S.C. § 1332, providing diversity jurisdiction, as this matter in controversy
22

23
                                               8
24

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 1   exceeds the sum of $75,000, exclusive of interest and costs, and is between
 2
     citizens of different states.
 3

 4         This Court further has jurisdiction over Plaintiffs’ claims pursuant to

 5   28 U.S.C. § 1367, allowing the exercise of supplemental jurisdiction.
 6
       C. & D. Factual Basis and Legal Theories of Each Claim.
 7

 8                  1. Defendants have intentionally and negligently inflicted
                       severe emotional distress on the Individual Tribal
 9
                       Councilmember Plaintiffs by participating in and
10                     devising a plan to physically and emotionally harm
                       Plaintiffs in attempt to gain control of them and have
11
                       them reverse their decision to appoint the Interim Board.
12

13
            “[A] plaintiff’s independent or ‘stand alone’ claim for intentional or

14   negligent infliction of emotional distress can be maintained only upon a
15
     showing that the plaintiff suffered ‘serious’ or ‘severe’ emotional distress as
16

17   the reasonably foreseeable consequence of the defendant’s act or

18   omission.” Puryer v. HSBC Bank USA, Nat’l Ass’n, 2018 MT 124, ¶ 38, 391
19
     Mont. 361, 419 P.3d 105 (overruled in part on other grounds, Odom v. Bank
20

21   of N.Y. Mellon, 2020 MT 58, at n.3, 399 Mont. 552, 459 P.3d 225). A

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 1   plaintiff’s emotional distress is “serious” or “severe” if it is such that “that
 2
     no reasonable person could be expected to endure it.” Puryer, ¶7 38.
 3

 4         Defendants negligently and intentionally inflicted severe emotional

 5   distress on the Individual Councilmember Plaintiffs by participating in and
 6
     devising a plan to have IMDG employees and their family retaliate against
 7

 8   and harm the Plaintiffs physically and emotionally in attempt to gain

 9
     control of them and have them rescind their decision to appoint the Interim
10
     Board. Defendants’ outrageous conduct was the direct and proximate
11

12   cause of the Plaintiffs’ serious, severe, and ongoing emotional distress,
13
     which is justified and reasonable under the circumstances.
14

15         Further, Defendants negligently and intentionally acted to injure the

16   Individual Tribal Council members through their interference and attempt
17
     to control IMDG’s business management, operations, and governance by
18

19   refusing to take any action to ensure the legitimacy of the Prior Board even

20
     after being notified by the Tribal Council that the existing members’ terms
21
     had expired. Defendants also intentionally and willfully acted to interfere
22

23   with IMDG’s business management, operations, and governance by
                                                10
24

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 1   refusing the Tribal Council’s legitimate requests for financial information
 2
     related to IMDG and its affiliates; advising the Lenders that the Tribal
 3

 4   Council’s appointment of an Interim Board constituted an Event of Default;

 5   wrongfully withholding IMDG’s agreements with the Lenders and other
 6
     relevant information requested by the Tribal Council, the owners of IMDG;
 7

 8   advising members of the Prior Board to transfer all IMDG lending

 9
     businesses, assets, and jobs to an out-of-state tribe in effort to undermine
10
     and conceal information from the IMDG Interim Board; and
11

12   communicating with the Lenders regarding the validity of the appointment
13
     of the Interim Board, both before and after IMDG terminated Defendants
14

15   as legal counsel, causing a continuation of the claimed Event of Default.

16        Defendants’ intentional and negligent conduct further constitutes
17
     actual malice under § 27-1-221(2), MCA, because Defendants had
18

19   knowledge of facts or intentionally disregarded facts that created a high

20
     probability of harm to the Plaintiffs, and deliberately proceeded to act in
21
     conscious or intentional disregard, or indifference to, the high probability
22

23
                                              11
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 1   of injury to the Plaintiffs. As such, Defendants are liable to each Individual
 2
     Plaintiff for punitive damages pursuant to §§ 27-1-220 and -221, MCA.
 3

 4                 2. Defendants and others, constituting two or more
                      persons, had an object of using IMDG for their own
 5
                      financial benefit during the course of their
 6                    representation of IMDG, and undertook unlawful, overt
                      acts in furtherance of their objective and to influence
 7
                      Plaintiffs’ governance of IMDG.
 8
          Civil conspiracy is established by the following elements: “(1) two or
 9

10   more persons . . . ; (2) an object to be accomplished; (3) a meeting of the
11
     minds on the object or course of action; (4) one or more unlawful overt acts;
12

13
     and (5) damages as the proximate result thereof.” Sullivan v. Cherewick,

14   2017 MT 38, ¶ 24, 386 Mont. 350, 391 P.3d 62.
15
           Defendants and others, including prior Board members of the
16

17   inactive “ad hoc” committee, which constitute two or more persons, had a

18   meeting of the minds to accomplish their objective of using IMDG for their
19
     own financial benefit during the course of their representation of IMDG, to
20

21   the detriment of IMDG and the Plaintiffs, who are current or former

22
     members of the Tribal Council, the sole owner of IMDG.
23
                                               12
24

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 1         Defendants and the others undertook unlawful, overt acts to
 2
     undermine the IMDG Interim Board and the Tribal Council to influence
 3

 4   IMDG and Plaintiffs’ governance of IMDG so that Defendants could

 5   continue to further their objective of using IMDG for their own financial
 6
     benefit. These overt acts include Defendants refusing to take action to
 7

 8   ensure the legitimacy of the IMDG’s prior Board, even after being put on

 9
     notice by the Tribal Council that the existing members’ terms had expired.
10
     Defendants further took overt acts in furtherance of their objective of using
11

12   IMDG for their own financial benefit by refusing the Tribal Council’s
13
     legitimate requests for financial information related to IMDG and its
14

15   affiliates, despite the Tribal Council being the sole owner of IMDG.

16   Defendants also advised the Lenders that the Tribal Council’s appointment
17
     of an Interim Board constituted an Event of Default, wrongfully withheld
18

19   IMDG’s own agreements with the Lenders and other relevant information

20
     requested by the Tribal Council, the owners of IMDG. Lastly, Defendants
21
     advised members of the Prior Board to transfer all IMDG lending
22

23   businesses, assets, and jobs to an out-of-state tribe in effort to undermine
                                              13
24

25

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 1   and conceal information from the IMDG Interim Board; and communicated
 2
     with the Lenders regarding the validity of the appointment of the Interim
 3

 4   Board, both before and after IMDG terminated Defendants as legal counsel,

 5   causing a continuation of the Event of Default.
 6
          E. Computation of Damages
 7

 8        1. Economic damages of Plaintiffs: As a consequence of

 9
             Defendants’ conduct, the Plaintiffs have sustained and will
10
             continue to sustain notable economic losses. These losses
11

12           encompass lost income -- both past and future -- as well as adverse
13
             effects on their professional paths. In addition, there are past and
14

15           anticipated medical expenses attributable to the Defendants'

16           conduct. While the exact amount of these economic damages has
17
             yet to be determined, it is intended to be calculated and presented
18

19           during discovery.

20
          2. Non-economic damages of Plaintiffs: As a consequence of
21
             Defendants’ conduct, Plaintiffs have suffered and will suffer
22

23           psychological and emotional distress, humiliation, and mental and
                                             14
24

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 1            physical pain and anguish, in a sum to be proven at trial. These
 2
              damages require no computation at this time.
 3

 4         3. Punitive damages: Plaintiffs are seeking punitive damages in this
 5
              action. These damages require no computation at this time.
 6

 7          D.     Pendency of Related State or Federal Litigation

 8
           Plaintiffs are not aware of the pendency of related state or federal
 9
     litigation.
10

11          E.  Proposed Deadlines Relating to Joinder of Parties or
            Amendment of the Pleadings
12

13         Upon meeting and conferring with Defendants, Plaintiffs agree with
14
     the mutually proposed date of March 4, 2024, as the deadline to join parties
15

16
     and amend pleadings.

17          F.    Identification of Controlling Issues of Law Suitable for
18          Pretrial Disposition

19         Plaintiffs believe that after appropriate discovery, legal issues in this
20
     case may be subject to pretrial dispositive motions.
21

22          G. The Name and City and State of Current Residence of Each
            Individual known or believed to have information that may be
23
                                               15
24

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 1   used in proving or denying any party’s claims or defenses, and a
 2   summary of that information.

 3    1. Plaintiff Jeffrey Stiffarm, c/o Matt Law Office, 310 E Main, Cut
 4
         Bank, MT 59427, Telephone (406) 873-4833. Mr. Stiffarm is the
 5

 6       current President of Fort Belknap Community Council (FBCC)

 7
         (the “Tribal Council”), and has knowledge of the Fort Belknap
 8
         Indian Community’s (the “Tribe”) relationship with IMDG, and
 9

10       the events leading up to and following the events of January 19,
11
         2023.
12

13
      2. Plaintiff Geno LeValdo, c/o Matt Law Office, 310 E Main, Cut

14       Bank, MT 59427, Telephone (406) 873-4833. Mr. LeValdo was a
15
         member of the Tribal Council, and has knowledge of the events
16

17       leading up to and following the events of January 19, 2023. Mr.

18       LeValdo also has knowledge concerning the termination of
19
         Greenberg Traurig and Jennifer Weddle’s legal services in
20

21       February 2023.

22
      3. Plaintiff Curtis Horn, c/o Matt Law Office, 310 E Main, Cut
23
                                      16
24

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 1       Bank, MT 59427, Telephone (406) 873-4833. Mr. Horn was a
 2
         member of the Tribal Council, and has knowledge of the events
 3

 4       leading up to and following the events of January 19, 2023.

 5    4. Plaintiff Brian Wing, c/o Matt Law Office, 310 E Main, Cut Bank,
 6
         MT 59427, Telephone (406) 873-4833. Mr. Wing was a member of
 7

 8       the Tribal Council, and has knowledge of the events leading up

 9
         to and following the events of January 19, 2023.
10
      5. Derek “Sam” Azure, c/o Matt Law Office, 310 E Main, Cut Bank,
11

12       MT 59427, Telephone (406) 873-4833. Mr. Azure was a member
13
         of the Tribal Council, and has knowledge of the events leading
14

15       up to and following the events of January 19, 2023.

16    6. Evan Azure, IMDG, 353 Old Hays Rd, P.O. Box 470, Hays, MT.
17
         59527, (406)673-3031. Mr. Azure was appointed as IMDG Chief
18

19       Executive Officer (CEO) in April 2023. Mr. Azure has knowledge

20
         of the events leading up to his appointment as IMDG CEO.
21
      7. Dominic Messerly, Mr. Messerly was a member of the Tribal
22

23       Council and has knowledge of the events leading up to and
                                      17
24

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 1       following the events of January 19, 2023.
 2
      8. Warren Morin, Mr. Morin was was a member of the Tribal
 3

 4       Council and has knowledge of the events leading up to and

 5       following the events of January 19, 2023.
 6
      9. Judith King, c/o Matt Law Office, 310 E Main, Cut Bank, MT
 7

 8       59427, Telephone (406) 873-4833. Ms. King is the sister of Tracy

 9
         “Ching” King and the current Vice President of the Tribal
10
         Council. Ms. King has knowledge of the events leading up to
11

12       and following the events of January 19, 2023.
13
      10. Ben Speakthunder, he was employed by Fort Belknap Indian
14

15       Community as a Sergeant of Arms and then later as the

16       Constuction foreman for Snake Butte Construction. Mr.
17
         Speakthunder has knowledge of the events leading up to and
18

19       following the events of January 19, 2023.

20
      11. Gary Lamere, c/o Matt Law Office, 310 E Main, Cut Bank, MT
21
         59427, Telephone (406) 873-4833. Mr. Lamere was employed as
22

23       the Acting Chief of Police on January 19, 2023 and has
                                       18
24

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 1       knowledge of the events leading up to and following the events
 2
         of January 19, 2023.
 3

 4    12. Felecia Messerly, Harlem, Montana, 406-353-2205. She has

 5       knowledge of the events leading up to and following the events
 6
         of January 19, 2023.
 7

 8    13. Steve Fox, c/o Matt Law Office, 310 E Main, Cut Bank, MT

 9
         59427, Telephone (406) 873-4833. Mr. Fox was a council member
10
         on January 19, 2023 and has knowledge of the events leading up
11

12       to and following the events of January 19, 2023.
13
      14. Terry Brockie. Mr. Brockie was the previous IMDG CEO and
14

15       has knowledge regarding the legal services provided by

16       Greenberg Traurig and Jennifer Weddle, IMDG’s relationship to
17
         and interactions and communications with the Tribal Council,
18

19       IMDG’s relationship with its Lenders, and the events leading up

20
         to and following the events of January 19, 2023.
21
      15. Tracy “Ching” King. Mr. King was a former member of the
22

23       Tribal Council, as well as a former member of the IMDG Board
                                      19
24

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 1       of Directors. Mr. King is the brother of FBCC Vice President
 2
         Judith King. Mr. King has knowledge regarding IMDG’s
 3

 4       relationship to the Tribal Council, IMDG’s communications and

 5       interaction with the Tribal Council, the events leading up to and
 6
         following the events of January 19, 2023, the formation of the Ad
 7

 8       Hoc Executive Committee, and the communications with

 9
         representatives of the Rosebud Sioux Tribe’s Sicangu
10
         Corporation.
11

12    16. Christopher “Smiley” Guardipee. Mr. Guardipee was a former
13
         member of the IMDG Board of Directors. Mr. Guardipee has
14

15       knowledge regarding IMDG’s relationship to the Tribal Council,

16       the events leading up to and following the events of January 19,
17
         2023, the formation of the Ad Hoc Executive Committee, and the
18

19       communications with representatives of the Rosebud Sioux

20
         Tribe’s Sicangu Corporation.
21
      17. Dana Pyette, Ms. Pyette is the former IMDG Chief Financial
22

23       Officer. Ms. Pyette has knowledge of IMDG’s finances, including
                                        20
24

25

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 1       the payments made to Greenberg Traurig and Jennifer Weddle.
 2
         Ms. Pyette also has knowledge of the debts and liabilities of
 3

 4       IMDG, including under the Lending Agreements with IMDG

 5       Lenders. Ms. Pyette also has knowledge of the events leading up
 6
         to and following the events of January 19, 2023.
 7

 8    18. Delina Cuts the Rope, c/o Matt Law Office, 310 E Main, Cut

 9
         Bank, MT 59427, Telephone (406) 873-4833. Ms. Cuts the Rope is
10
         the current FBIC Chief Administrative Officer and has
11

12       knowledge of the events leading up to and following the events
13
         of January 19, 2023. Ms. Cuts the Rope also has knowledge of the
14

15       communications and interactions between the Tribal Council and

16       IMDG.
17
      19. Jessica Stiffarm, c/o Matt Law Office, 310 E Main, Cut Bank, MT
18

19       59427, Telephone (406) 873-4833. Ms. Stiffarm is the current FBIC

20
         Chief Documents Officer and has knowledge of the events
21
         leading up to and following the events of January 19, 2023. Ms.
22

23       Stiffarm also has knowledge of the communications and
                                       21
24

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 1       interactions between the Tribal Council and IMDG and Tribal
 2
         Council and Jennifer Weddle. Ms. Stiffarm also has knowledge
 3

 4       related to how the events of January 19, 2023 and thereafter have

 5       affected Plaintiff Jeffrey Stiffarm.
 6
      20. Catherine Aragon, c/o Matt Law Office, 310 E Main, Cut Bank,
 7

 8       MT 59427, Telephone (406) 873-4833. Ms. Aragon is the current

 9
         FBIC legal counsel and has knowledge of the events leading up
10
         to and following the events of January 19, 2023. Ms. Aragon also
11

12       has knowledge of the communications and interactions between
13
         the Tribal Council and IMDG and Tribal Council and Jennifer
14

15       Weddle and Greenberg Traurig staff related to Tribal council

16       resolutions authorizing to loan documents and facility
17
         documents.
18

19    21. Denise Doney, Former Personnel Director of IMDG. Ms. Doney

20
         participated in the discussions related to planning for the
21
         January 19th meeting and meetings thereafter. She was involved
22

23       in removing property from IMDG.
                                         22
24

25

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 1    22. Pete Stiffarm, Former IT Director of IMDG. Mr. Stiffarm
 2
         participated in the discussions related to planning for the
 3

 4       January 19th meeting and meetings thereafter. He was involved

 5       in removing property from IMDG.
 6
      23. Charlo Kirkaldie, Former Human Resource Specialist. Mr.
 7

 8       Kirkaldie has knowledge of IMDG Executive committee

 9
         meetings regarding January 19th and meeting thereafter
10
         regarding matters alleged in the complaint.
11

12    24. Chris Biewer, Former Director Online Lending. Mr. Biewer
13
         participated in discussions with Jennifer Weddle, IMDG Board,
14

15       and Executive staff regarding transferring assets to the Rosebud

16       Sioux Tribe. He also participated in discussions regarding board
17
         member terms.
18

19    25. Ross McLinden, Fomer Chief Compliance Officer. Mr.

20
         McLinden participated in discussions with Jennifer Weddle,
21
         IMDG Board, and Executive staff regarding transferring assets to
22

23       the Rosebud Sioux Tribe. He also participated in discussions
                                       23
24

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 1       regarding board member terms.
 2
      26. Jackie Blackbird, Former Chief Communication Officer. Ms.
 3

 4       Blackbird participated in discussions with Jennifer Weddle,

 5       IMDG Board, and Executive staff regarding transferring assets to
 6
         the Rosebud Sioux Tribe. She also participated in discussions
 7

 8       regarding board member terms.

 9
      27. Bobbi Werk. IMDG, 353 Old Hays Rd, P.O. Box 470, Hays, MT.
10
         59527, (406)673-3031. Ms. Work is employed in IMDG finance.
11

12       She has knowledge related to IMDG finances.
13
      28. Corey Fox, IMDG, 353 Old Hays Rd, P.O. Box 470, Hays, MT.
14

15       59527, (406)673-3031. Mr. Fox is employed in the IMDG IT

16       department and has knowledge related to the events in the
17
         complaint.
18

19    29. James Flansburg, IMDG, 353 Old Hays Rd, P.O. Box 470, Hays,

20
         MT. 59527, (406)673-3031. Mr. Flansburg has knowledge related
21
         to IMDG board meeting and events leading up to January 19th
22

23       meeting and events thereafter.
                                      24
24

25

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 1    30. Kenneth Helgerson, Lodgepole MT, former IMDG Board
 2
         Member. Mr. Helgerson has information related to IMDG
 3

 4       business and has knowledge related to IMDG board meetings

 5       and events leading up to January 19th meeting and events
 6
         thereafter.
 7

 8    31. Cindy Kilgore, Acting CFO, IMDG, 353 Old Hays Rd, P.O. Box

 9
         470, Hays, MT. 59527, (406)673-3031. Ms. Kilgore has knowledge
10
         of IMDG finances.
11

12    32. Taylor McCabe, IMDG, 353 Old Hays Rd, P.O. Box 470, Hays,
13
         MT. 59527, (406)673-3031. Mr. McCabe has knowledge related to
14

15       IMDG business, including IMDG board meetings and events

16       leading up to January 19th meeting and events thereafter.
17
      33. Charmayne Healy. Ms. Healy has knowledge related to IMDG
18

19       board meeting and events leading up to January 19th meeting

20
         and events thereafter.
21
      34. Jarret Azure, Fort Belknap Indian Community Insurance, 656
22

23       Agency Main Street, Harlem, MT. 59526 (406)353-2205. Mr.
                                      25
24

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 1       Azure was for a period of time interim CEO of IMDG. He has
 2
         knowledge related to IMDG board meeting and events leading
 3

 4       up to January 19th meeting and events thereafter.

 5    35. Phillip Shortman, address unknown. Mr. Shortman has
 6
         knowledge related to IMDG board meetings and events leading
 7

 8       up to January 19th meeting and events thereafter.

 9
      36. William Main, P.O. Box 1052, Harlem, MT, 59526, 406-945-7349.
10
         Mr. Main has knowledge related to IMDG board meetings and
11

12       events leading up to January 19th meeting and events thereafter.
13
      37. Dustin Monroe. Mr. Monroe has knowledge related to IMDG
14

15       board meeting and events leading up to January 19th meeting

16       and events thereafter.
17
      38. Michelle Fox, Big Fire Law & Policy Group LLP, 1905 Harney
18

19       Street, Suite 300, Omaha, NE 68102. Ms. Fox is the former CEO

20
         of IMDG and former Consultant for IMDG. Ms. Fox was also the
21
         attorney at the time for the Siċaŋġu Corporation and RL-FB
22

23       Holdings and worked for Big Fire law firm. Ms. Fox has
                                      26
24

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 1       knowledge related to IMDG board meetings and events leading
 2
         up to January 19th meeting and events thereafter.
 3

 4    39. Clay Colombe,27565 Research Park Drive, Mission, SD, 57555,

 5       (605)856-8400. CEO of RL-FB Holdings. Mr. Colombe has
 6
         knowledge of allegations in complaint related to attempts to
 7

 8       transfer Fort Belknap online lending business assets to the

 9
         Rosebud Sioux Tribe, and the activities leading up to this
10
         decision.
11

12    40. Oliver James Semans., PO Box 194, Mission, SD. 57555, (605)856-
13
         8400. Mr. Semans has knowledge of allegations in complaint
14

15       related to attempts to transfer Fort Belknap online lending

16       business assets to the Rosebud Sioux Tribe and the activities
17
         leading up to this decision.
18

19    41. John Williams, P.O. Box 701596, Tulsa, Oklahoma, 74170-1596

20
         (918)732-9435. Mr. Williams is legal counsel to Lenders. Mr.
21
         Williams has knowledge of the loans and facility documents
22

23       between Lenders and the Fort Belknap Indian Community and
                                        27
24

25

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 1       their online lending entities. He also has knowledge about the
 2
         alleged event of default and communications before and after
 3

 4       January 19th with Jennifer Weddle and other Greenberg Traurig

 5       staff.
 6
      42. Lender c/o John Williams, P.O. Box 701596, Tulsa, Oklahoma,
 7

 8       74170-1596 (918)732-9435. Owner of Lending company. Lender

 9
         has knowledge of IMDG’s finances, knowledge pertaining to the
10
         default letter issued to IMDG, knowledge regarding attempted
11

12       transfer of assets to the Rosebud Sioux Tribe, and knowledge of
13
         Jennifer Weddle’s verbal communications regarding her former
14

15       client, IMDG.

16    43. Lender c/o John Williams, P.O. Box 701596, Tulsa, Oklahoma,
17
         74170-1596 (918)732-9435. Owner of lending company. Lender
18

19       has knowledge of IMDG’s finances, knowledge pertaining to the

20
         default letter issued to IMDG, knowledge regarding attempted
21
         transfer of assets to the Rosebud Sioux Tribe, and knowledge of
22

23       Jennifer Weddle’s verbal communications regarding her former
                                      28
24

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 1       client, IMDG.
 2
      44. Clayton Johnson, 614 Park Drive South, Great Falls, MT 59405,
 3

 4       (406) 205-4771. As auditor for Fort Belknap on-line lending

 5       businesses and other businesses managed by IMDG, Mr. Johnson
 6
         has knowledge related to IMDG’s finances.
 7

 8    45. Darlene Azure, 306 1st St. SW, Harlem, MT. 59527, 406-353-2573.

 9
         Ms. Azure has knowledge related to how the events of January
10
         19, 2023, and thereafter have affected Plaintiff Derek Azure.
11

12    46. Joshua Felecia, 1029 Custer Avenue, Hardin, MT 406-690-8519.
13
         Mr. Felecia has knowledge related to how the events of January
14

15       19, 2023, and thereafter have affected Plaintiff Derek Azure.

16    47. Wynonna Azure, Gallup, New Mexico, 406-399-293. Ms. Azure
17
         has knowledge related to how the events of January 19, 2023, and
18

19       thereafter have affected Plaintiff Derek Azure.

20
      48. John Filesteel, , P.O. Box 311,Hays, MT 59527, (406) 390-6213.
21
         Mr. Filesteel has knowledge related to how the events of January
22

23       19, 2023, and thereafter have affected Plaintiff Geno LeValdo.
                                       29
24

25

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     Case 4:23-cv-00054-BMM Document 18 Filed 01/16/24 Page 30 of 35



 1    49. Colleen Filesteel, P.O. Box 432 Hays, MT 59524, (406) 390-6670.
 2
         Ms. Filesteel has knowledge related to how the events of January
 3

 4       19, 2023, and thereafter have affected Plaintiff Geno LeValdo.

 5    50. Tagen LeValdo, P.O. Box 332, Harlem, MT 59524, (406) 301-2398.
 6
         Mr. LeValdo has knowledge related to how the events of January
 7

 8       19, 2023, and thereafter have affected Plaintiff Geno LeValdo.

 9
      51. Penny Hawley, P.O. Box 346, Hays, MT 59527, (406) 301-1116.
10
         Ms. Hawley has knowledge related to how the events of January
11

12       19, 2023, and thereafter have affected Plaintiff Geno LeValdo.
13
      52. Brook LeValdo, P.O. Box 332, Harlem, MT 59524. Ms. LeValdo
14

15       has knowledge related to how the events of January 19, 2023, and

16       thereafter have affected Plaintiff Geno LeValdo.
17
      53. Howard Gone, General Delivery, Hays, MT, (406) 408-0183. Mr.
18

19       Gone has knowledge related to how the events of January 19,

20
         2023, and thereafter have affected Plaintiff Jeffrey Stiffarm.
21
      54. Barbara Longknife, General Delivery, Hays, MT, (406) 673-3504.
22

23       Ms. Longknife has knowledge related to how the events of
                                        30
24

25

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 1       January 19, 2023, and thereafter have affected Jeffrey Stiffarm.
 2
      55. Kelsey Stiffarm, General Delivery, Hays MT, (406) 301-0527. Ms.
 3

 4       Stiffarm has knowledge related to how the events of January 19,

 5       2023, and thereafter have affected Plaintiff Jeffrey Stiffarm.
 6
      56. Eva Walker, 906 Route 8, Dodson, MT 59524, (406) 301-2964. Ms.
 7

 8       Walker has knowledge related to how the events of January 19,

 9
         2023, and thereafter have affected Plaintiff Brian Wing.
10
      57. Kathy Wing, Lodgepole, MT (406) 461-0824 Ms. Wing has
11

12       knowledge related to how the events of January 19, 2023, and
13
         thereafter have affected Plaintiff Brian Wing.
14

15    58. Harold Edwin Main, P.O. Box 1052, Harlem, MT, 406-353-5149.

16       Mr. Main was an employee of Kwik Stop on January 19, 2023,
17
         and has knowledge of activities that took place at Kwik Stop
18

19       after the meeting. He also was retaliated against for stating what

20
         he saw.
21
      59. Ed Street, CPA, REDW, 7425 Jefferson St. NE, Albuquerque, NM
22

23       87109. (505) 998-3228, Has knowledge of what individuals
                                        31
24

25

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     Case 4:23-cv-00054-BMM Document 18 Filed 01/16/24 Page 32 of 35



 1       endured with obtaining financial records.
 2
      60. Indian Health Service Medical providers, (406) 353-3100. These
 3

 4       providers have knowledge related to how the events of January

 5       19, 2023, and thereafter have affected Plaintiff Brian Wing.
 6
      61. Defendant Jennifer Weddle. Ms. Weddle is an attorney with
 7

 8       Greenberg Traurig and has knowledge regarding her and

 9
         Greenberg Traurig’s services and advice provided to IMDG, her
10
         billing practices, her relationship with the third-party Lenders,
11

12       knowledge regarding the Lending Agreements between IMDG
13
         and the Lenders, IMDG’s communications and interaction with
14

15       the Tribal Council, and the events leading up to and following

16       the events of January 19, 2023.
17
      62. All Defendants’ witnesses.
18

19    63. Foundation witnesses.

20
      64. Rebuttal witnesses.
21

22

23
                                       32
24

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 1          65. Plaintiffs reserve the right to add to this list as additional
 2
                 investigation and discovery reveal any other persons likely to
 3

 4               have discoverable information pertaining to Plaintiffs’ claims.

 5

 6

 7         H.     Substance of Any Insurance Agreement

 8
           Defendants Greenberg Traurig and Jennifer Weddle are primarily
 9
     covered under a policy provided by CNA/Columbia Casualty Company,
10

11   Policy Number 198277147, in the amount of $7,500,000. Defendants state

12
     they have additional insurance policies.
13
          I.  Status of any Settlement Discussions and Prospects for
14
       Compromise of the Case.
15

16
                The parties have not engaged in any settlement discussions as of

17   the time of filing. Prospects for compromise of the case and resolution of
18
     Plaintiffs’ claims may be likely.
19

20         J.       Suitability of Special Procedures

21
                Plaintiffs are not aware of any special procedures suitable to the
22
     resolution of their claims.
23
                                                33
24

25

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 1        DATED this 16th day of January, 2024.
 2
                                       MATT LAW OFFICE, PLLC
 3

 4
                                       By: /s/ Terryl Matt
 5                                     Terryl T. Matt, Esq.
                                       Email: terrylm@mattlawoffice.com
 6
                                       310 East Main Street
 7                                     Cut Bank, MT 59427
                                       Telephone: (406) 873-4833
 8
                                       Fax No.: (406) 873-0744
 9

10
                                      DUROCHER & WINTER, P.C.
11

12                                     By: /s/ _Jeffrey Winter___
                                      Jeffrey G. Winter, Esq.
13                                    118 6th Street South
14                                    P.O. Box 1629
                                      Great Falls, Montana 59401
15
                                      Telephone: (406) 727-4020
16                                    Facsimile: (406) 771-7319
                                      Email: jwinter@mtlawyers.net
17

18                                    Attorneys for Plaintiffs

19
                           CERTIFICATE OF SERVICE
20
          The undersigned hereby certifies that a true and correct copy of the
21

22   foregoing document was served this 16th day of January, 2024, via the
23
                                            34
24

25

26
          Case 4:23-cv-00054-BMM Document 18 Filed 01/16/24 Page 35 of 35



 1   Court’s ECF system upon:
 2
               Neil G. Westesen
 3             Griffin B. Stevens
 4             E. Lars Phillips
               P.O. Box 797
 5
               Helena, MT 59624-0797
 6             nwestesen@crowleyfleck.com
               gstevens@crowleyfleck.com
 7
               lphillips@crowleyfleck.com
 8
                     Attorneys for Defendants
 9

10
                                       /s/
11
                                       Certifier
12

13

14

15

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                                            35
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